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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


ANGELA GONZALEZ, DEBORAH                         §
JONES,                                           §
           Plaintiffs,                           §
                                                 §
v.                                               §                   6-19-CV-00244-ADA
                                                 §
KENNETH E. HJERPE, C.R.                          §
ENGLAND, INC.,                                   §
             Defendants.                         §

      ORDER GRANTING DEFENDANT’S MOTION FOR PARTIAL SUMMARY
                            JUDGMENT

       Before the Court is Defendant C.R. England, Inc.’s Motion for Partial Summary

Judgment (ECF No. 21) and Plaintiffs Angela Gonzalez’s and Deborah Jones’s Response (ECF

No. 22). After having reviewed the parties’ briefs, case file, and applicable law, the Court

GRANTS Defendant’s Motion for Partial Summary Judgment.

       In Plaintiffs’ Response, Plaintiffs requested that their claims of negligent hiring,

negligent training, negligent supervision, negligent retention and negligent entrustment against

Defendant C.R. England, Inc. be dismissed. ECF No. 22.

       For the reasons set forth above, it is accordingly ORDERED that C.R. England, Inc.’s

Motion for Partial Summary Judgment with respect to Angela Gonzalez’s and Deborah Jones’s

claims for negligent hiring, negligent training, negligent supervision, negligent retention and

negligent entrustment against Defendant C.R. England, Inc. is GRANTED.

SIGNED this 7th day of October, 2020.




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE
